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                                https://www.nytimes.com/article/rikers-deaths-jail.html



Tracking the Deaths in New York City’s Jail System in 2022
Seventeen have died so far this year, the highest toll since 2013.
By Jan Ransom and Jonah E. Bromwich
Oct. 22, 2022


Seventeen people have died after being held in New York City’s troubled jail system this year, the most in nearly a
decade, even as officials have rushed to implement reforms to stave off the threat of a federal court takeover.

On Saturday, Oct. 22, Erick Tavira, 28, was found unresponsive with a sheet around his neck in a mental health
observation unit at a jail on Rikers Island, according to internal documents obtained by The New York Times. He was
pronounced dead shortly after.

Mr. Tavira’s death marked a grim milestone: This is now the deadliest year in the city’s jail system since 2013, when
twice as many people were being held there.

Long besieged by intractable problems, Rikers Island and the city’s other jail facilities have been engulfed in violence
and disorder since 2020, when a mass outbreak of Covid among correction officers hurt morale and led to chronic
staff absenteeism. With so few guards showing up for work, some detainees have been forced to go without food or
medical care.

Mayor Eric Adams and his jails commissioner, Louis A. Molina, have vowed to enact a reform plan that was ordered
and approved earlier this year by a federal judge. But lawyers for the incarcerated have said that the city is incapable
of keeping detainees safe, and they have called for an outside official to take control of the jails.

The following list of those who have died after being held in the jail system this year was drawn from Correction
Department records and interviews with city officials and lawyers and friends and family members of the deceased.
It shows that most of those who died were men and that overwhelmingly they were Black or Hispanic, reflecting the
population at Rikers.


Oct. 22 — Erick Tavira
Race: Other

Sex: Male

Cause of Death: Suspected Suicide

Jail: George R. Vierno Center

Arrest date: June 13, 2021

“Our deepest condolences go out to Mr. Tavira’s family, friends and loved ones in their time of grief,” Mr. Molina said
in a statement. “We take the health and safety of everyone in our custody seriously, and we are conducting a
preliminary investigation into this death.”

Mr. Tavira was arrested in June 2021 and charged with second degree strangulation. He had been in custody for more
than a year. He died at the George R. Vierno Center, a jail facility on Rikers.‎

Sept. 22 — Robert Pondexter
                                                                          Elmore Robert Pondexter, left, with his sister, Gina Pondexter. Mr.
                                                                          Pondexter became the 16th person to die after being held in the
                                                                          city's jails this year.
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                                                              Gina Pondexter




Race: Black

Sex: Male

Cause of Death: Likely pulmonary embolism

Jail: George R. Vierno Center

On Sept. 22, Elmore Robert Pondexter, collapsed in a psychiatric unit at the George R. Vierno Center and later died at
Bellevue Hospital, according to his family, lawyer, jail records and three people with knowledge of the matter.

In the days leading up to his death, Mr. Pondexter, who had been held at the jail since April 2020 on charges of rape
and related offenses, had complained to his sister and daughter that he had chest pain and problems breathing.

Mr. Pondexter, who was being held in the Program to Accelerate Clinical Effectiveness — Rikers Island’s most heavily
staffed intensive-care psychiatric housing area — collapsed after 5 a.m. on Sept. 18 and was taken to Bellevue
Hospital, according to jail records and two people with knowledge of the incident. He went into cardiac arrest soon
after, and doctors concluded he was unlikely to regain consciousness. He was taken off life support at 2:50 p.m. and
pronounced dead at 7:50 p.m., his family said.

Mr. Pondexter was granted compassionate release before he died, and his death was not counted in the Correction
Department’s official tally.


Sept. 20 — Gregory Acevedo
Race: Other

Sex: Male

Cause of Death: Suspected suicide or escape

Jail: Vernon C. Bain Center

Arrest date: Feb. 26, 2022
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On Sept. 20, while in the recreation yard on the roof of the Vernon C. Bain Center, a massive barge known among
detainees and jail employees as “the Boat,” Gregory Acevedo climbed a towering security fence lined with barbed
wire shortly before noon, three people familiar with the matter said. He remained at the top of the fence for a while,
one of the people said, as officers fired pepper spray at him in an unsuccessful attempt to force him down. Mr.
Acevedo then jumped into the East River, the people said.

Fire officials received 911 calls about the incident at least three minutes after Mr. Acevedo climbed the fence.
According to jail records, officers threw him life rafts, but he refused to accept them. By the time the Police
Department’s harbor unit pulled Mr. Acevedo from the water, he was unresponsive and in critical condition, the
people said.

He died at Mount Sinai Hospital in Queens at 10:59 p.m., according to the people with knowledge. Mr. Acevedo, who
was on parole, had been at the jail since his arrest on robbery and assault charges in February.

It was unclear whether Mr. Acevedo was trying to escape or attempt suicide, though the Department of Correction
called the incident an “attempted escape” in a statement. A fourth person with knowledge said that Mr. Acevedo, 48,
had a history of mental health problems.


Sept. 14 — Kevin Bryan
Race: Black

Sex: Male

Cause of Death: Suspected suicide

Jail: Eric M. Taylor Center

Arrest date: Sept. 7, 2022

Mr. Bryan, 35, was found at about 7 a.m. hanging from a pipe inside a locked staff bathroom, according to two officials
with knowledge of the matter. Mr. Bryan had been at the jail for a week, ordered held in lieu of $5,000 bail on burglary
charges and other offenses stemming from six separate incidents, court records show.

Arrested multiple times since December, he had been released in each instance before being detained again in
September, an official said. A court-ordered drug treatment program accepted him in June but kicked him out after he
failed to show, the official said.

Mr. Bryan died after being forced out of a housing area by other detainees through a gate that had been opened by a
correction officer, people familiar with the mater said. He locked himself inside a staff bathroom and hanged himself
from a pipe, the people said.

Officers kicked the door open in an attempt to save him, one person said, but Mr. Bryan was pronounced dead at 7:44
a.m.

Mr. Molina said in a statement that the department will investigate the death.


Aug. 30 — Michael Nieves
Race: Other

Sex: Male

Cause of Death: Suicide

Jail: Anna M. Kross Correctional Facility

Arrest Date: June 8, 2022
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Mr. Nieves slit his throat with a razor in front of two correction officers and a captain, who failed to respond for at
least 10 minutes, according to five people with knowledge of the matter.

“The health and safety of those in our custody is paramount and an immediate review of this incident required we
take immediate action and suspend three uniform staff members involved,” Mr. Molina, the commissioner of the
Department of Correction, said in a statement on Tuesday evening after a Times report on Mr. Nieves’s self-inflicted
wound. “We are conducting a full investigation into this and will continue to work tirelessly to bring safety to our
city’s jails.”

The episode was captured on video and it showed Mr. Nieves bleeding out onto the floor of his cell, said the people,
who spoke on the condition of anonymity because they were not authorized to discuss the matter publicly.

Unlike most of the deaths this year, Mr. Nieves’s grave injury was not the result of insufficient staffing. Mr. Nieves,
who had been described by officials as seriously mentally ill, was most recently held in the Program to Accelerate
Clinical Effectiveness — Rikers Island’s most heavily staffed intensive-care psychiatric housing areas.


Aug. 15 — Ricardo Cruciani




                                       Matt Rourke/Associated Press


Race: White

Sex: Male

Cause of Death: Suspected Suicide

Jail: Eric M. Taylor Center

Arrest Date: Mr. Cruciani was admitted to Rikers on July 29, after being convicted at trial.

The Correction Department did not immediately respond to questions about Mr. Cruciani’s death or whether he had
been placed on suicide watch, as his lawyer, Frederick Sosinsky, and the judge presiding over his trial had requested.
After his death, Mr. Sosinsky called for an investigation and said that, to his knowledge, his client had never been
placed on suicide watch.

Mr. Molina, the Correction Department commissioner, said in a statement that he was “deeply saddened to learn of
the passing of this person in custody.” He said that the department would review the death.
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Mr. Cruciani was being held in a general population dormitory that was understaffed, according to an official familiar
with the matter, who, like some others interviewed about this year’s deaths, spoke on condition of anonymity because
the person was not authorized to discuss it publicly.

A second official said that Mr. Cruciani had entered the shower area at 4:23 a.m. and was found unresponsive at 5:35
a.m. by an officer overseeing the housing unit.


July 15 — Michael Lopez, 34
Race: Multiracial

Sex: Male

Cause of Death: Suspected overdose

Jail: Anna M. Kross Center

Arrest Date: May 18, 2022

Mr. Lopez, 34, had been held at the jail on $2,500 bail on burglary charges in Manhattan. Mr. Lopez had six open cases
in Manhattan, including three burglaries from the same Target, three burglaries from the same Duane Reade and one
assault case, records show.

Mr. Lopez had schizophrenia disorder and struggled with drug addiction, his mother Jennie Rosario-Megibow, 64,
said in a recent interview. During his latest stint on Rikers, Ms. Rosario-Megibow said her son had never received
any of the four medications he was on for his mental illness and she believes he overdosed in an attempt to self
medicate.

“He was held in an observation unit charged with ensuring his safety, yet he was still deprived of the services that he
needed and deserved,” said a statement from The Legal Aid Society, which represented Mr. Lopez. “Had Mr. Lopez
been spared detention, he would have been connected to programming, and he would be alive today.”

A Correction Department spokesman said that the department extends its condolences to Mr. Lopez’s loved ones and
that the incident was under investigation.


July 10 — Elijah Muhammad, 31
Race: Black

Sex: Male

Cause of Death: Suspected overdose

Jail: George R. Vierno Center

Arrest Date: June 8, 2022

Mr. Muhammad, who had been held at the complex on an assault charge, appeared to have been lying dead in his cell
for hours before his body was discovered by correction staff members, according to two people familiar with the
matter. The delay prompted the immediate firing of one rookie correction officer and the suspensions of others, one of
the people said.

Mr. Muhammad had been receiving treatment for schizophrenia, according to one of the people with knowledge of his
case. In the days before he died, he had spent more than 32 hours in isolation before being returned to a regular cell, a
violation of department rules against holding detainees in so-called de-escalation units for more than six hours at a
time. While in the isolation cell, Mr. Muhammad did not have a bed or access to medical care, the person said.
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June 21 — Albert Drye, 52
Race: Black

Sex: Male

Cause of Death: Unknown

Jail: Eric M. Taylor Center

Arrest Date: May 17, 2022

Mr. Drye died at the Bellevue Prison Hospital Ward, according to the Legal Aid Society, which was representing him.
He had been held on assault, harassment and weapons charges in Manhattan and the Bronx, and had been seriously
ill with an unspecified ailment and hospitalized for several weeks before his death.

Before he was hospitalized, he had been held at the Eric M. Taylor Center, where new detainees are assessed before
being placed in jails.


June 20 — Anibal Carrasquillo, 39




                                     Sheniqua Bryant Carrasquillo


Race: Multiracial

Sex: Male

Cause of Death: Suspected overdose

Jail: George R. Vierno Center

Arrest Date: Sept. 27, 2019

Mr. Carrasquillo had been held on a $50,000 bail on charges including robbery, drug possession and assault. He was
last seen alive shortly after 10 p.m. on a Sunday, a person with knowledge of the incident said. Shortly before 1 a.m. on
Monday, a jail supervisor found him unresponsive in his cell.

Mr. Carrasquillo’s wife, Sheniqua Bryant Carrasquillo, 31, criticized New York City officials for having neglected him.
“He was in your custody,” she said in an interview. “He should have been protected, and he wasn’t.”

A Correction Department spokesman said that the department extends its condolences to Mr. Carrasquillo’s loved
ones and that the incident was under investigation.
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June 18 — Antonio Bradley, 28
Race: Black

Sex: Male

Cause of Death: Suicide

Jail: N/A

Arrest Date: Oct. 13, 2021

Antonio Bradley died three days after he was granted compassionate release to Lincoln Hospital in the Bronx,
Correction Department officials said. Because he was released from custody before his death, the city does not
include him in its official count of the deaths in custody this year.

Mr. Bradley, who had been held in a mental observation unit on Rikers, used his sweater to hang himself in a
courthouse cell following a hearing in Bronx criminal court. A person familiar with his death said he had been
hanging for several minutes before jail officers noticed him and that, by then, he was brain-dead. He died days later.


May 28 — Emanuel Sullivan, 20
Race: Black

Sex: Male

Cause of Death: Unknown

Jail: Robert N. Davoren Center

Arrest Date: February 7, 2022

Mr. Sullivan was found in his bed by a correction officer, according to the Correction Department. He was being held
on a second-degree murder charge and a first-degree robbery charge, records show. Correction Officials said that the
housing area where Mr. Sullivan died was staffed and that tours of it had been conducted by correction officers
throughout the day. Little additional information about his death has come to light.


May 18 — Mary Yehudah, 31




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Race: Black

Sex: Female

Cause of Death: Suspected Overdose

Jail: Rose M. Singer Center

Arrest Date: Feb. 11, 2022

Mary Yehudah, 31, was awaiting trial on a robbery charge when she was found unresponsive in her cell. She was
taken to Elmhurst Hospital in Queens but died the next morning. Lawyers for Ms. Yehudah said they had been trying
to get her into a drug-treatment program.


May 7 — Dashawn Carter, 25
Race: Black

Sex: Male

Cause of Death: Suspected Suicide

Jail: Anna M. Kross Center

Arrest Date: May 7, 2022

Mr. Carter was found hanging from a window in his cell just two days after being transferred back to Rikers from a
state psychiatric hospital, according to a person with knowledge of the circumstances surrounding his death.

When Mr. Carter was returned to Rikers on a Thursday, mental health officials at the jail cleared him to be held in a
general population housing area known as Quad Upper 12, according to the person familiar with his case. Mr. Carter
was later found slumped over near his bed around 5 p.m. that Saturday, said Joseph Russo, the president of the union
representing deputy wardens and assistant deputy wardens.

Mr. Carter had been charged with first-degree robbery and third-degree burglary, according to officials.


March 18 — Herman Diaz, 52




                                     via Eduardo Diaz


Race: Hispanic
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Sex: Male

Cause of Death: Choking

Jail: Eric M. Taylor Center

Arrest Date: Feb. 22, 2022

Mr. Diaz’s death was detailed in a report from the city Board of Correction, a jails watchdog panel. According to the
report, Mr. Diaz choked on an orange and was not assisted by a correction officer on duty, who was on modified duty
and not permitted to interact directly with people in custody.

Mr. Diaz was carried to the medical clinic by other detainees and pronounced dead by medical staff at 10:58 a.m.,
about 40 minutes after he began to choke.


March 17 — George Pagan, 48
Race: Hispanic

Sex: Male

Cause of Death: Sepsis, complicated by substance use and H.I.V. infection.

Jail: Eric M. Taylor Center

Arrest Date: March 9, 2022

Clearly ill, Mr. Pagan “regularly urinated, defecated and vomited on himself” during his nine days in custody, the
Correction Board report stated.

Despite his condition, he was allowed to miss nine scheduled medical appointments in six days and placed in a
general-population housing area where he was offered no food or drink other than what was provided to him by other
detainees. It is unclear whether his condition was called in by a correction officer but eventually, other detainees
carried him out of the unit to receive medical care. He is survived by a sister and brother.


Feb. 27 — Tarz Youngblood, 38
Race: Black

Sex: Male

Cause of Death: Overdose

Jail: George R. Vierno Center

Arrest Date: Sept. 5, 2021

Mr. Youngblood was inside another man’s cell — it was not clear why — when he became unresponsive. Other
detainees carried him down a flight of stairs and attempted to provide him with medical assistance, the Correction
Board report stated.

Video footage showed that correction officers did not conduct rounds at the intervals required in the hours before Mr.
Youngblood’s death. He is survived by his domestic partner, their three children, his mother, his stepmother and his
stepsister.
William K. Rashbaum contributed reporting.
